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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 22-mj-00203-GMH
                                              :
THOMAS CAREY,                                 :
                                              :
                                              :
                       Defendant.             :



                    UNITED STATES’ RESPONSE TO DEFENDANT’S
                              MOTION TO TRAVEL

       Defendant has requested permission of the Court to travel to France via Switzerland from

December 28, 2022, to January 16, 2023, to visit friends. [DE 38] The Court directed the

Government to respond to that request.    It does so accordingly.

       Charges

       As set forth correctly in his motion, Defendant is charged by complaint for misdemeanor

violations related to his actions on January 6, 2021. However, he was arrested along with four

other co-defendants for their actions. One of his co-defendants, Joseph Brody, was also charged

with felony counts for violating 18 U.S.C. §§ 231 (civil disorder), 111(a)(1) (assaulting,

resisting, or impeding certain officers), and 1512(c)(2)(obstruct, influence, or impeded any

official proceeding). Unlike Defendant, Joseph Brody pushed a barricade into an officer and

took photographs of documents on the U.S. Senate floor.

       Defendant was arrested in Pittsburgh, PA, on September 15, 2022, and is not in custody.

The Government did not seek his detention in any proceeding.
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        Objection to Request to Travel

        Defense counsel contact the Government and informed the undersigned of Defendant’s

intent to travel abroad for the holidays, seeking the Government’s position. Defense counsel

also provided the Government with additional information regarding that that travel in order for

the request to by considered by my office.      However, while Defendant has no criminal history

and his pretrial service officer confirmed his continued compliance with all conditions of release,

the Government cannot agree with his request to travel to France to spend the holidays with his

friends.

        Defendant has been charged for his actions related to January 6, 2021.        While Defendant

is only facing misdemeanor charges, the events of that day, and his involvement in them along

with his co-defendants, are serious. The Government is also concerned that Defendant’s travel

to an expensive international destination for a more than two-week vacation does not seem

appropriate while the taxpayers are funding his legal fees.      While it is commendable that he

hopes to pay for the trip with money he earned working summer jobs and reduce costs by staying

with friends, it does not appear to be a trip that is necessary to take at this time while these

charges are pending.

        The Government cannot point to any particular facts that makes him a risk of flight.

However, it still cannot agree that this international travel is appropriate at this time.   The

Government is not aware of this trip being required for school or his future career plans.         Nor

does it appear that this is a trip that could be taken at later date.   In fact, the parties have come

to a resolution of this matter with an Information to be filed soon.      While it may be

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inconvenient for Defendant to delay his trip, it may be more appropriate for this trip could be

taken after this matter is fully resolved. Accordingly, the Government must oppose Defendant’s

request.

          The Government has responded promptly to Defendant’s request, prior to the deadline set

by the Court, to allow the Court to rule on Defendant’s motion prior to the status conference set

for November 17, 2022, if the Court believes it is appropriate to do so on the parties’

submissions.     Defense counsel and the Government are not requesting oral argument on this

matter.    Additionally, the Government is not certain if the extra time will assist Defendant in

securing cheaper airfare but wants to allow him to do so if the Court permits this travel.

          If the Court does rule on this motion, the Government would renew its request to

continue the status conference on November 17, 2022, per the parties’ join motion to do so, if

doing so would save judicial resources. Defense counsel has informed the Government that he

also has another hearing before a district court judge at 1:30 pm on November 17, 2022, but will

coordinate as needed to appear in both matters.



                                               Respectfully submitted,

                                               MATTHEW GRAVES
                                               United States Attorney


                                       By:     /s/ Joseph H. Huynh
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